Case 2:19-cr-00120-MEF Document 500-35 Filed 08/03/23 Page 1 of 6 PageID: 25576




                    EXHIBIT 33
Case 2:19-cr-00120-MEF Document 500-35 Filed 08/03/23 Page 2 of 6 PageID: 25577




                                                                       DOJ-LT-LTR-00000042
Case 2:19-cr-00120-MEF Document 500-35 Filed 08/03/23 Page 3 of 6 PageID: 25578




                                                                       DOJ-LT-LTR-00000043
Case 2:19-cr-00120-MEF Document 500-35 Filed 08/03/23 Page 4 of 6 PageID: 25579




                                                                       DOJ-LT-LTR-00000044
Case 2:19-cr-00120-MEF Document 500-35 Filed 08/03/23 Page 5 of 6 PageID: 25580




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Case 2:19-cr-00120-MEF Document 500-35 Filed 08/03/23 Page 6 of 6 PageID: 25581




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